






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00478-CV






Cynthia Ulett Lynch, Appellant


v.


TRISUN Healthcare, LLC, Appellee






FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 277TH JUDICIAL DISTRICT

NO. 07-638-C277, HONORABLE KEN ANDERSON, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Appellee TRISUN Healthcare, LLC, filed a motion to dismiss this appeal for lack of
jurisdiction on the ground that appellant Cynthia Ulett Lynch failed to timely file her notice of
appeal.  The trial court entered final judgment on August 10, 2009, and Lynch filed a motion for new
trial on August 19, 2009.  Because Lynch filed a motion for new trial, the notice of appeal was due
to be filed November 9, 2009.  See Tex. R. App. P. 26.1(a) (party must file notice of appeal within
90 days after judgment signed if party filed motion for new trial).  Lynch filed her notice of appeal
May 10, 2010, and she did not file a motion to extend time to file her notice of appeal.  Because
Lynch's notice of appeal was not timely filed, this Court is without jurisdiction over the appeal.  See
Tex. R. App. P. 2, 25.1(b), 26.3.  Accordingly, we grant TRISUN's motion and dismiss the appeal
for want of jurisdiction.  See Tex. R. App. P. 42.3(a).



						__________________________________________

						Jan P. Patterson, Justice

Before Chief Justice Jones, Justices Patterson and Henson

Dismissed for Want of Jurisdiction

Filed:  December 30, 2010


